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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                 PORTLAND DIVISION



INDEX NEWSPAPERS, LLC, et al.,                    Case No. 3:20-cv-1035-SI
              Plaintiffs.                         FEDERAL DEFENDANTS’
                                                  RESPONSE IN OPPOSITION TO
                                                  PLAINTIFFS’ MEMORANDUM IN
       v.                                         SUPPORT OF EXTENDING AND
                                                  MODIFYING THE TEMPORARY
CITY OF PORTLAND, et al.,                         RESTRAINING ORDER
              Defendants.




FEDERAL DEFENDANTS’ RESPONSE IN OPPOSITION
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                                         INTRODUCTION
        The question before the Court is whether good cause exists to extend the Temporary

Restraining Order. There is none. The premise of Plaintiffs’ request for emergency injunctive

relief is that they face irreparable harm as self-identified journalists and legal observers, because

they claim they will be targeted by federal law enforcement officers protecting the Hatfield

Courthouse. That is, if protests continue, and if those protests turn violent, and if Plaintiffs are

present, and if federal, rather than local, police are engaged with the violent opportunists among

the protestors, and if those officers, at a future moment, engage in riot control actions, such as

less-than-lethal force, and if Plaintiffs are in the vicinity of the opportunists, and if those officers,

notwithstanding clear instructions from the chain of command not to target individuals for

exercising First Amendment rights when engaging in law enforcement activities, decide to target

Plaintiffs, then they will be harmed, through injury or impediment to their reporting or observing

activities. This chain of hypotheticals falls well short of the standards for forward-looking

injunctive relief set forth in the case law. To the extent that prospective injunction may ever

issue against future law enforcement activities, see City of Los Angeles v. Lyons, 461 U.S. 95,

104 (1983), this is not such a case, and even if there was good cause to enter the TRO on July 23,

which Federal Defendants continue to dispute, good cause is utterly lacking now.

                                            ARGUMENT

I.      PLAINTIFFS’ REQUEST FOR FURTHER INJUNCTIVE RELIEF FAILS TO
        ESTABLISH STANDING OR A LIKELIHOOD OF IRREPARABLE HARM,
        AND IS MOOT.

        Plaintiffs’ request for further injunctive relief has numerous deficiencies that make such

relief inappropriate: Plaintiffs lack Article III standing to pursue injunctive relief, because they

have failed to show that future harm is certainly impending. They also cannot show a likelihood

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of irreparable harm absent injunctive relief. And, relatedly, their claims for injunctive relief are

moot.

        Plaintiffs’ lack of standing and failure to satisfy the emergency-relief standard were

present at the outset of the case, but they have been made only more apparent during the past

week. The assumption of responsibility for policing the area around the Hatfield Courthouse by

Oregon and local police has coincided with a drop in federal law enforcement engagement with

protesters nearly to zero, and it has also mooted Plaintiffs’ request for injunctive relief.

Regardless of whether the TRO was justified when it was first issued, Plaintiffs agree that the

appropriateness of extending the TRO must be evaluated on its own merits (ECF No. 112 at 7),

and Plaintiffs fail to carry their burden.

        Plaintiffs’ first problem is that they lack Article III standing to pursue injunctive relief

because, setting aside the hypothetical nature of their claims of injury if federal officers were

policing the protests outside the Courthouse, the state of Oregon’s resumption of its policing

responsibility has drastically reduced the chance that Federal Defendants will again need to

respond to unchecked violent protests threatening federal property. As the Supreme Court held in

Whitmore v. Arkansas, 495 U.S. 149 (1990), allegations of possible future injury do not satisfy

the requirements of Article III. A threatened injury must be “certainly impending” to constitute

injury in fact, which is more than a mere reasonable likelihood based on a chain of probabilities.

495 U.S. at 158 (quoting Babbitt v. United Farm Workers, 442 U.S. 289, 298 (1979)); see also

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410 (2013). As a result, in order to invoke Article

III jurisdiction, a plaintiff in search of prospective equitable relief must show a significant

likelihood and immediacy of sustaining some direct injury. Updike v. Multnomah Cty., 870 F.3d

939, 947 (9th Cir. 2017) (“[S]tanding for injunctive relief requires that a plaintiff show a ‘real

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and immediate threat of repeated injury.’” (quoting O’Shea v. Littleton, 414 U.S. 488, 496

(1974))).

       There is no evidence of a “certainly” impending future injury. As documented in Federal

Defendants’ opposition brief filed yesterday, ECF No. 113, the resumption of ordinary policing

by the state and local governments has eliminated federal law enforcement officers’ need to

interact with protesters outside of the courthouse. Since the afternoon of July 30, federal law

enforcement officers have not used force against any protesters, have not deployed crowd-

control methods in response to the protests, and have left the building during the nightly protests

only to extinguish two small fires. Id. at 7. This is not merely happenstance or a consequence of

the original TRO; it is the result of state and local police resuming their ordinary policing

responsibilities, as part of the plan that DHS and the state of Oregon agreed to. Id. at 5–6. As

shown by the actions of all involved parties, that plan—publicly announced by both DHS and the

state of Oregon—is not “self-contradictory statements emanating from the Trump propaganda

machine.” ECF No. 112 at 6. The sole evidence of alleged harm that Plaintiffs offer in their new

filing concerns events prior to the afternoon of July 30, 1 over five days before their filing, and

those declarations say nothing to contradict that state and local police, not federal law

enforcement officers, are responsible for policing the violent protests that declarants were

attending. These allegations of past harm relate to a law enforcement function that Federal

Defendants no longer need fulfill, and are insufficient to show an entitlement to prospective

relief. See Lyons, 461 U.S. at 104 (“That Lyons may have been illegally choked by the




1
 ECF 115 ¶ 6 (“Around 12:30 a.m. on July 30”); ECF No. 116 ¶ 5 (“On the night of July 21”);
ECF No. 117 ¶ 10 (“In the early morning of July 27”); ECF No. 118 ¶ 5 (“By the early hours of
July 27”).
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police . . . , while presumably affording Lyons standing to claim damages . . . does nothing to

establish a real and immediate threat that he would again be stopped for a traffic violation, or for

any other offense, by an officer or officers who would illegally choke him into unconsciousness

without any provocation or resistance on his part.”); O’Shea, 414 U.S. at 495–96. Because

Plaintiffs have alleged only that they suffered injury in the past under a materially different set of

circumstances, they cannot carry their burden to show standing for purely speculative future

harms.

         Indeed, by the time the TRO has lapsed, the new arrangement between federal and state

law enforcement will have been in effect for a full week, meaning that for half of the life of the

original TRO, the circumstances on which it was predicated will have been absent. There is no

evidence supporting the conclusion that federal officers will “certainly” engage with crowds in

the next two weeks as they did prior to the afternoon of July 30, much less that journalists

covering such an event would have their First Amendment rights violated. Plaintiffs therefore

lack standing to request continuation of the TRO.

         Plaintiffs’ second problem is that they cannot show a likelihood of irreparable harm,

which is necessary to any claim for preliminary injunctive relief, including a TRO. See Pac.

Kidney & Hypertension, LLC v. Kassakian, 156 F. Supp. 3d 1219, 1222 (D. Or. 2016) (holding

that the standard for a temporary restraining order is generally the same as for a preliminary

injunction). Plaintiffs’ failure to demonstrate Article III standing for injunctive relief prevents

any potential showing of irreparable harm; because standing is a prerequisite to the Court’s

exercise of jurisdiction, see Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157 (2014),

Plaintiff’s claims on the merits have no likelihood of success if Plaintiffs cannot establish

standing. Id. at 158 (“The party invoking federal jurisdiction bears the burden of establishing

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standing” and must do so “the same way as any other matter on which the plaintiff bears the

burden of proof, i.e., with the manner and degree of evidence required at the successive stages of

the litigation.”) (internal quotations and citations omitted). Plaintiffs’ factually unfounded

speculation about future law enforcement actions is not sufficient to demonstrate that any

Plaintiff will “likely” suffer irreparable harm absent a TRO extension. Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008).

       Plaintiffs’ third problem is that the changed situation in Portland has mooted any

entitlement they may have previously had to injunctive relief. See, e.g., Bayer v. Neiman Marcus

Grp., Inc., 861 F.3d 853, 864 (9th Cir. 2017) (“[A] claim for injunctive relief becomes moot

once subsequent events have made clear the conduct alleged as the basis for the requested relief

‘could not reasonably be expected to recur.’”). The uncontroverted factual record produced by

Federal Defendants shows that state and local police, not federal law enforcement officers, are

now responsible for policing the riots that Plaintiffs attend. Their claim for injunctive relief

against Federal Defendants relies on predicting a complete change in the roles of federal, state,

and local law enforcement, which they have not shown is remotely likely.

       Plaintiffs attempt to inflate the standard for showing mootness, demanding an

“unequivocal promise that the federal agents plan to leave Portland and never return.” ECF No.

112 at 10. But that assertion regarding mootness gets both the law and Plaintiffs’ own case

wrong. On the law, Defendants do not need to show mootness in the first place; Plaintiffs must

show good cause for extending the TRO. In any event, Plaintiffs are wrong that mootness

requires some ironclad guarantee that it is impossible the predicted harm will ever occur under

any circumstances. Instead, Federal Defendants must show that “any alleged future harm … is

‘so remote and speculative that there is no tangible prejudice to the existing interests of the

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parties.’” Feldman v. Bomar, 518 F.3d 637, 643 (9th Cir. 2008) (emphasis in original) (quoting

Headwaters, Inc. v. Bureau of Land Management, 893 F.2d 1012, 1015 (9th Cir. 1989)). As

discussed in Federal Defendants’ brief yesterday, ECF No. 113, the changed circumstances make

the risk of future harm to any Plaintiff—over the fourteen days after Thursday, August 6, 2020—

a remote and speculative theoretical possibility at the end of a long chain of suppositions and

contingencies. That is enough to moot their claim for injunctive relief.

       Nor is this the doctrine of voluntary cessation applicable in this case. Federal Defendants

are not relying on a “voluntary cessation of a challenged practice” to claim mootness. City of

Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982). Instead, because state and local law

enforcement agencies have resumed their traditional duties of responding to criminal activity, it

is highly speculative that Federal Defendants will ever need to reengage with violent protesters

around the federal courthouse in the manner that Plaintiffs challenge. Federal Defendants have

not ceased responding to claims of violent protests because of Plaintiffs’ legal claims; an

intervening change of policy by state and local police law enforcement means that state and local

police are responding to any protest activities.

       On the nature of this case, Plaintiffs are also mistaken. They obtained the TRO on the

basis of allegations that federal law enforcement officers were not sufficiently deferential to

members of the press and legal observers in the violent protests surrounding the federal

courthouse. Yet now that state and local police have resumed policing those violent protests

(with their own policies, including an injunction governing their conduct), and federal law

enforcement officers have ceased doing so, Plaintiffs’ new theory of the case is that federal

officers shouldn’t even be permitted in the state—or, at least, should be confined to the buildings

that protesters are trying to burn down. That new theory, unsupported by any legal or factual

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basis, is an eleventh hour reimagining of their claims and this litigation that cannot breathe new

life into their moot request. Even though Plaintiffs’ latest filing shows that they view this case as

a means of driving federal law enforcement officers from the state, that was not the asserted

basis of their claims, so they cannot now defeat mootness by showing that USMS and DHS are

still present in the state of Oregon.

        In sum, Plaintiffs seek to extend the TRO on the basis of a harm that, if it ever existed,

has now dissipated. They retain nothing more than a generalized concern that federal law

enforcement officials might one day be deployed in some manner with which they disagree. But

the mere fear of a speculative future harm is not enough to make a failed claim for injunctive

relief into a live one. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013) (plaintiffs

“cannot manufacture standing merely by inflicting harm on themselves based on their fears of

hypothetical future harm that is not certainly impending”). Federal law enforcement’s

engagement with the protests around the federal courthouse has shrunk so much that a claim for

injunctive relief for the next two weeks cannot rest upon it.

II.     THE COURT SHOULD REJECT PLAINTIFFS’ DEMAND THAT FEDERAL
        OFFICERS BE CONFINED TO THE COURTHOUSE.

        Federal Defendants note that, in their recent filing, Plaintiffs raise the outlandish request

that the Court curtail federal officers’ ability to leave federal property. ECF No. 112 at 13–14.

This incursion into federal officers’ movements, and impediment to their ability to perform all

aspects of their lawful duties, beyond merely the ability to respond to threats to themselves and

to federal property from outside the Courthouse, is grounded in no harms plausibly demonstrated

by Plaintiffs, and no law. It would also run directly counter to DHS’s statutory authority to

“conduct investigations, on and off the property in question, of offenses that may have been

committed against property owned or occupied by the Federal Government or persons on the
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property.” 40 U.S.C. § 1315(b)(2)(E); see also ECF No. 67 at 6–7 (discussing DHS’s statutory

authority). The Court should deny this request.

III.   FEDERAL DEFENDANTS DIRECT THE COURT TO THEIR PRIOR FILINGS
       REGARDING THE COURT’S PROPOSED MODIFICATIONS TO THE TRO.

       Finally, Defendants respectfully direct the Court to their prior filings, including

declarations, for their response to the Court’s proposed modifications to the TRO. As noted

therein, the Court’s proposal for identifying federal officers via numbering designations is

unnecessary, see Part I, supra, and unworkable.

                                         CONCLUSION

       To the extent injunctive relief was ever proper in this matter, and Defendants dispute that

it was, the Court should now decline to extend or modify the TRO.




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